Case 2:04-cr-20384-SHI\/| Document 71 Filed 04/19/05 Page 1 of 2 PagelD 66

 

Fll-E,
|N THE UN|TED STATES D|STR|CT COURT

FOR THE WESTERN DlSTR|CT OF TENNESSEE '
WESTERN DlVlS|ON 05 APR |9 PH d dr

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cLEaK. u_.s. ol-,_;i'. cT.
uNlTED sTATEs 0F AMERICA W'D' OF “`" M&‘“FH'S

P|aintiff

VS.
CR. NO. 04-20384-D

HECTOR POLENDO, JR.

Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FY!NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

Counse| for the defendant filed a motion requesting a thirty day continuance of the
Suppression Hearing/Report Date, set for Apri| 19, 2005 at 1:30 p.m., in orderto allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 and the
Sup|:_iression HearinglRerrt Date to Thursda§\[l May 19l 2005l at 10:00 a.m., in
Courtroom 3. 9th F|oor of the Federa| Bui|ding, |Vlemphis, TN.

The period from |V|ay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

lT |S SO ORDERED this ¢f day Of Apri|, 2005.

 
 
   
 

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UNITD sATES ISTRIC COURT - ESTERN DISITRCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 71 in
case 2:04-CR-20384 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

